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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF OREGON


Jesse Lee Ream,

                              Plaintiff,                      Case No. 6:21-cv-00332-JR
                                                              SETTLEMENT CONFERENCE
       v.
                                                              ORDER

Reed Paulson,

                              Defendant.

______________________________________

BECKERMAN, Magistrate Judge.

       Upon request of the parties, the above-captioned matter is set for a judicially
supervised settlement conference before Judge Stacie F. Beckerman on Friday, September
29, 2023, from 8:30 a.m. to 12:00 p.m. by videoconference. Plaintiff, Defendant, counsel
and other parties who may be of assistance in settling the case are welcome to participate.
The court will distribute the Zoom videoconference information in advance. Plaintiff shall
log on at 8:30 a.m. and Defendants at 8:50 a.m.

      The parties are required to submit a confidential settlement letter to Judge
Beckerman before the conference. This settlement letter should not exceed five pages.
PLEASE SEE ATTACHED INSTRUCTIONS REGARDING SETTLEMENT
DOCUMENTS.

       Any party who, without prior court approval, fails to have all persons with
settlement authority present, or any party who fails to participate in the settlement
conference in good faith, may be subject to sanctions. Such sanctions may include
costs and attorney fees of the other parties attending the settlement conference.
       Dated: June 6, 2023.



                                               STACIE F. BECKERMAN
                                               United States Magistrate Judge
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                        PREPARATION FOR SETTLEMENT CONFERENCE

A.      In preparation for the scheduled settlement conference, the parties are required to
        exchange at least two rounds of settlement offers prior to the settlement letter deadline. If, after
        exchanging two rounds of settlement offers, the parties determine that the settlement conference
        will not be a good use of resources, the parties should contact the Court to cancel the settlement
        conference.

B.      Each party’s confidential settlement letter (not to exceed five pages), must address these points:

        1.      A brief summary of the key claims, counterclaims (if any), and cross-claims (if any).

        2.      The three best and three worst facts for your case.

        3.      Any legal issues which, when ruled upon, could substantially change your client’s position
                in the case, either favorably or unfavorably.

        4.      An explanation of any factors making settlement difficult for the parties.

        5.      Any common goals that might facilitate settlement.

        6.      The status of settlement negotiations, including the last settlement proposal made by
                each party. (If the parties have not completed two rounds of settlement offers prior to
                submitting settlement letters, the settlement conference will be rescheduled.)

        7.      The fees and costs you have incurred to date, and an estimate of the anticipated fees and
                costs you will incur to prepare, try, and participate in an appeal of the case.

         You may attach key exhibits, reasonable in number and length, such as documents constituting the
alleged contract, letters or e-mails that contain an alleged admission, and similar documents, if the exhibits
are critical to understanding the case or the parties’ respective positions. You need not attach the pleadings.

         In addition, please e-mail to Judge Beckerman in advance of the conference an electronic copy of
a draft settlement agreement.

       All communications made in connection with the settlement conference are confidential. Please be
candid in your settlement letter.

       These documents must be submitted to chambers by 5:00 p.m. on September 22, 2023 by mail to
the address below, or via e-mail to SBpropdoc@ord.uscourts.gov.

        Please call Courtroom Deputy Giselle Williams, at 503-326-8022, if you have any questions.

        Thank you.

                                                  Hon. Stacie F. Beckerman
                                                  U.S. Magistrate Judge
                                                  U.S. District Court
                                                  1000 S.W. Third Avenue, #740
                                                  Portland, OR 97204
